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                   EXHIBIT A
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                                                                                           CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY,GEORGIA
                                                                                               21-C-01184-S5
                                                                                            2/11/2021 5:24 PM

                        IN THE STATE COURT OF GW1NNETT COUNTY
                                                                                "AL CeRK 0 STATE COURT
                                   STATE OF GEORGIA

 DASHA THARPE                                )
                                             )         CIVIL ACTIO1
                                                                   1-C-01184-S5
                                             )         FILE NO.
                                             )
 V.                                          )

 GEORGIA CVS PHARMACY LLC,
 CVS PHARMACY INC., and
 WEC 99D-6 LLC

          Defendants.

                                          COMPLAINT

          COMES NOW Plaintiffin the above-styled action and file this Complaint as follows:

                                                  1.

          On July 10, 2019,Plaintiff Dasha Tharpe was seriously injured on the premises ofthe

CVS Pharmacy located at 501 Spaulding Road, Montezuma, Georgia 31063, when a large metal

gift card display fell on her due the negligence ofthe Defendants.

                                                 2.

         At all times mentioned herein, Defendants Georgia CVS Pharmacy LLC,CVS Pharmacy

Inc., and WEC 99D-6 LLC owned,operated, controlled, and managed the CVS Pharmacy

located at 501 Spaulding Road, Montezuma, Georgia 31063,including the gift card display at

issue.

                                                 3.

         Defendant Georgia CVS Pharmacy LLC is a Georgia limited liability company that is

duly registered to conduct business in the State of Georgia and may be served through its

registered agent, C T Corporation System,289 S Culver St, Lawrenceville, GA 30046.
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                                                        4.

              Defendant Georgia CVS Pharmacy LLC has been properly served with process in this

    action.

                                                        5.

              Jurisdiction and venue are proper as to Defendant Georgia CVS Pharmacy LLC.

                                                        6.

              Defendant CVS Pharmacy Inc. is a Rhode Island corporation that is duly registered to

   conduct business in the State of Georgia and may be served through its registered agent, C T

   Corporation System,289 S Culver St, Lawrenceville, GA 30046.

                                                      7.

            Defendant CVS Pharmacy Inc. has been properly served with process in this action.

                                                     8.

            Jurisdiction and venue are proper as to Defendant CVS Pharmacy Inc.

                                                     9.

              Defendant WEC 99-D-6 LLC is a Delaware limited liability company that is duly

   registered to conduct business in the State of Georgia and may be served through its registered -

- agent, Coiporation Service Company,40 Technology Parkway South, Suite 300, Norcross, GA

   30092.

                                                     10.

            Defendant WEC 99-D-6 LLC has been properly served with process in this action.

                                                     11.

          Jurisdiction and venue are proper as to Defendant WEC 99-D-6 LLC.




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                                                     12.

         On July 10, 2019,Plaintiff Dasha Tharpe was an invitee at the CVS Pharmacy located at

 501 Spaulding Road, Montezuma, Georgia 31063. As Plaintiff was standing in an aisle at the

 store, a large freestanding metal gift card display or "endcap" positioned at the end ofan aisle

 fell over due to the negligence ofthe Defendants and landed on Plaintiff's left leg, knocking her

 to the ground.

                                                     13.

        Upon information and belief, the display is approximately five and a halffeet tall and is

 believed to weigh approximately 300 pounds. Defendants negligently and improperly placed the

 display atop a black box or platform on the floor, raising the display's center of gravity and

 making it unstable and unreasonably prone to falling over. Further, the display was not secured

to a shelf or structural support or otherwise properly anchored. Something then caused the

display to topple over without warning due to its instability and unsafe center of gravity.

                                                     14.

        At or immediately before the time ofthe incident, something or someone either rattled,

bumped, brushed again, shook or otherwise caused the display to topple over. A display which

is properly installed, set up, stabilized,-and/or anchored would not have toppled over under the

circumstances which caused the subject display to topple over. But for Defendants' negligence,

the display would not have toppled over.

                                                  15.

       At all relevant times, Plaintiff was facing away from the gift card display, could not have

avoided it, and was not aware the display had begun to fall until it struck her left leg and drove




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  her to the ground. At all times, Plaintiff Dasha Tharpe exercised ordinary care and diligence

  under the circumstances then existing.

                                                       16.

         The freestanding display fell because it was negligently placed, installed, and set up such

 that it was unstable and not secured to the shelves, a structural support, or otherwise properly

 anchored, and negligently elevated off ofthe floor atop a black box or other unstable platform.

                                                       17.

         Defendants negligently failed to properly secure, install, anchor, affix, or stabilize the

 display, or otherwise prevent it from falling over.

                                                       18.

             As a result ofDefendants' negligence, Plaintiff's leg was struck by and/or pinned

 beneath the heavy display. Plaintiff was not able to get out from under the display until three

 people came to her assistance and lifted the display off her.

                                                       19.

         Upon information and belief, prior to the incident, the manufacturer ofthe display

provided Defendants with a new and more stable gift card display to replace the subject display.

However, Defendants negligently continued to utilize the subject gift card display at the CVS.

                                                    20.

        Upon information and belief, the metal display was negligently placed atop some type of

black box or platform CVS used for different applications in the store. Defendants were

negligent in raising the center of gravity ofthe display and using a box or platform not fit for the

purpose for which CVS was using it. As a result, the display was unsafe, unstable, and fell on

Plaintiff.



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                                                     21.

         Plaintiff was rushed to the hospital, where medical providers suspected possible nerve

 damage. Plaintiff was later diagnosed with complex regional pain syndrome, among other

 serious and permanent medical conditions.

                                                     22.

         As a result of said injuries, Plaintiff Dasha Tharpe has incurred reasonable and necessary

 medical and doctor expenses and will continue to incur expenses in the future, in an amount to be

 proven at trial, and likely exceeding $100,000.00.

                                                     23.

        The injuries suffered by Plaintiff Dasha Tharpe described herein are continuing and

permanent in nature, to include complex regional pain syndrome, nerve damage, allodynia, disc

bulging, gait and balance issues, numbness, and decreased mobility.

                                                  24.

        The injuries sustained by Plaintiff are the direct and proximate result ofthe negligence of

the Defendant. But for said negligence, Plaintiff would not have suffered the injuries and losses

discussed herein.

                                                  25.

        At all times mentioned herein, Defendants had exclusive possession, control, and

management ofthe property as well as exclusive possession and control ofthe metal gift card

display, and Defendants had the legal duty to keep its premises and approaches in a state

consistent with due regard ofthe safety ofits invitees, including Plaintiff.




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                                                       26.

         Defendants' premises and property were negligently maintained, inspected, and

 supervised, prior to Plaintiffs injury.

                                                       27.

         The defective, unstable, and unsafe nature ofthe large metal gift card display at issue was

 discoverable by Defendants upon a reasonable inspection. However, Defendants negligently

 failed to properly install, inspect, and repair the display. Defendants' failure to properly install,

 inspect, and repair the display directly and proximately caused Plaintiffs injuries.

                                                       28.

        Defendants were negligent in failing to correct, mark,remove, repair, barricade, or warn

ofthe defective and hazardous display at its premises, thereby creating an unreasonable risk of

injury to its invitees, including Plaintiff. Defendants negligently violated state and county

building codes and industry standards.

                                                     29.

        Defendants knew of, or by the exercise of due care for the safety oftheir invitees

including Plaintiff, should have known ofthe defective and hazardous condition(s) existing on its

premises and that the failure to correct, mark,remove, protect and/or repair said condition(s) was

likely to result in the precise injuries suffered by Plaintiff.

                                                    30.

       Defendants had constructive knowledge ofthe defective and hazardous condition(s)

existing on its premises due to the presence of its employees and agents within the immediate

area ofthe hazardous condition, and due to the existence ofthe condition(s) for an unreasonable

period oftime.



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                                                    31.

       Defendants had actual knowledge ofthe defective and hazardous condition(s) existing on

its premises through the direct knowledge oftheir employees and agents. Defendants also

negligently installed and created the hazard.

                                                    32. .

       Defendants are liable under the doctrine ofres ipso loquitur because the injury would not

have occurred but for Defendants' negligence, the injury was caused an object within

Defendants' exclusive control, Plaintiff did not contribute to the injury in any way, and there was

no intervening cause.

                                                    33.

       Defendants were and are negligent per se.

                                                 34.

       Defendants were negligent and said negligence proximately caused Plaintiff's injuries in

the following ways,to wit:

       a) Violation of0.C.G.A. § 51-3-1 by failing to exercise ordinary care to keep the

          premises safe;

      b) Violation ofapplicable state and county building codes and/or industry standards.

      c) In failing to properly correct, mark, remove, inspect, protect, guard, stabilize, repair

          and/or maintain the premises and display;

      d) In failing to warn oflatent dangers on the premises;

      e) In failing to post warning signs or warning markings;

      )
      f In knowingly allowing invitees to utilize an unsafe area ofthe premises;




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         g) In failing to properly train and supervise their employees in regard to the care ofsaid

             premises;

        h) In negligently retaining, entrusting, hiring, training and supervising said employees;

             and

        i) Negligently raising the display's center of         by placing it on the aforementioned

             black box or platform which was not fit for that purpose.

                                                     35.

        Although Defendants knew, or in the exercise ofreasonable diligence should have

known,ofthe risks ofinjuries to their invitees from said hazardous condition(s) existing on its

premises, Defendants negligently failed to take reasonable precautions to guard against the

dangerous condition(s)and failed to protect its invitees from such condition(s), including

Plaintiff.

                                                   36.

        Defendants negligently maintained said premises and at all times herein mentioned, failed

and neglected to correct, mark,remove or repair the premises or to guard against injuries to its

invitees, including Plaintiff, although said condition had existed for such a length oftime that

Defendants, their agents, officeis, servants, or employees knew or should have known thereof

and the likelihood of injury to persons at said location.

                                                  37.

       Each ofthe foregoing acts and omissions constitute an independent act of negligence on

the part ofthe Defendants and one or more or all of said herein above stated acts were the

proximate causes ofthe injuries and damages sustained by Plaintiff.




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                                                     38.

        Plaintiff is entitled to recover for the injuries and pain and suffering sustained, and all

 other elements of damages allowed under Georgia law,including but not limited to all

 compensatory, general, special, incidental, consequential, punitive and other damages permitted.

 Plaintiff states her intention to seek all compensatory, general, special, incidental, consequential,

 punitive and other damages permissible under Georgia law, including, but not limited to the

following which were proximately caused by Defendants' negligence:

        a) Personal injuries;

        b) Past, present and future pain and suffering;

        c) Past, present, and future lost wages;

        d) Past, present and future medical expenses, likely exceeding $100,000.00;

        e) Permanent injuries;

       0 Disability and disfigurement;

        g) Mental anguish and emotional distress;

        h) Loss ofthe capacity for the enjoyment oflife;

        i) Impaired ability to labor;

       j) Incidental expenses; -

       k) Consequential damages to be proven at trial; and

       1) All items ofdamages recoverable under Georgia law.

                                                   39.

       Plaintiff is entitled to an award ofpunitive damages, without limitation or cap, because

the actions of Defendants and their agents and employees were willful and wanton and showed




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an entire want ofcare, which would raise the presumption ofconscious indifference to

consequences and/or a specific intent to cause harm.

                                                 40.

       Defendants' actions evidence a species of bad faith, were and are stubbornly litigious,

and have caused Plaintiff undue expense. Thus,Plaintiff is entitled to recover his necessary -

expenses of litigation, including an award ofreasonable attorney's fees and expenses required by

this action, pursuant to 0.C.G.A. § 13-6-11,0.C.G.A. § 9-11-68(e) and 0.C.G.A. § 9-15-14, as

well as any other statutory or common law basis.

                                                41.

       That each ofthe foregoing acts and omissions constitute an independent act of negligence

on the part ofthe Defendants, and one or more or all ofsaid herein above stated acts were the

proximate causes ofthe injuries and damages sustained by the Plaintiff.

       WHEREFORE,Plaintiff prays for ajudgment to be awarded to them and against the

Defendants for the following:

       1)     Plaintiff be awarded actual damages in amounts to be shown at trial from the

              Defendants;

      2)      Plaintiff be awarded all general, special, compensatory, economic, punitive and

              other allowable damages in accordance with the enlightened conscience of an

              impartial jury from the Defendants and as permitted under Georgia law;

      3)      Plaintiff be awarded damages for lost wages and loss ofthe capacity to labor;

      4)      Plaintiff be awarded punitive damages in an amount to be determined by the

             enlightened conscience ofthe jury;

      5)     Plaintiff be awarded a trial by jury; and



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        6)     Plaintiff have such other relief as this Court deemsjust and appropriate under the

               circumstances.

        TRIAL BY JURY IS HEREBY DEMANDED.

        This 11th day ofFebruary 2021.

                                                    Respectfully submitted,

                                                    LAW & MORAN

                                                    /s/Brian C. Kaplan
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